Case 2:16-cv-00832-JNP Document 163 Filed 08/31/18 PageID.3674 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


 SECURITIES AND EXCHANGE                                ORDER GRANTING FOURTH
 COMMISSION,                                          INTERIM FEE APPLICATION FOR
                                                        RECEIVER AND RECEIVER’S
                       Plaintiff.                     PROFESSIONALS FOR SERVICES
                                                     RENDERED FROM OCTOBER 1, 2017
        V.                                           THROUGH DECEMBER 31, 2017, AS
                                                               AMENDED
 TRAFFIC MONSOON, LLC, a Utah Limited
 Liability Company, and CHARLES DAVID                          2:16-cv-00832-JNP
 SCOVILLE, an individual,
                                                          The Honorable Jill N. Parrish
                       Defendants.


       The matter before the court is the Fourth Interim Fee Application for Receiver and

Receiver’s Professionals for Services Rendered From October 1, 2017 Through December 31,

2017 (Fee Application) filed by Peggy Hunt, the court-appointed receiver, seeking the allowance

of fees and expenses incurred by the receiver, the receiver’s counsel, Dorsey & Whitney LLP

(Dorsey), and the receiver’s accountants, Berkley Research Group (BRG), for the period of

October 1, 2017 through December 31, 2017 (the Application Period) and authorization to pay

all allowed fees and expenses from funds of the receivership estate on an interim basis. No

objections to the Fee Application have been filed.

       On July 13, 2018, the court ordered the receiver to provide further information about

services provided by Dorsey in reviewing and responding to investor emails as set forth in the

invoices attached as Exhibit B to the Fee Application. [Docket No. 157.] The receiver filed a

Response to Request for Further Information Regarding Allowance of Certain Legal Fees and

Proposed Amendment to Pending Fee Applications on August 8, 2018, [Docket 161], amending
 Case 2:16-cv-00832-JNP Document 163 Filed 08/31/18 PageID.3675 Page 2 of 3




the Fee Application to reduce the legal fees requested in the total amount of $1,989. Thus, as

amended, Dorsey is seeking allowance of fees in the total amount of $53,599.27.

         The court GRANTS the Fee Application, as amended. The court notes, however, that it

appears that many of the tasks performed by an attorney in reviewing emails sent by investors

could be performed by a paralegal or even by clerical staff. The court may not approve future

applications that contain similar requests for payment for attorney time spent on such tasks.

         IT IS HEREBY ORDERED that:

         (1)       The Fee Application, as amended by the response, is APPROVED;

         (2)       The fees and expenses of the receiver and her professionals Dorsey and BRG are

ALLOWED on an interim basis as set forth in the Fee Application, as amended by the response;

         (3)       The receiver is ALLOWED a claim in the total amount of $15,748.65 for fees;

         (4)       Dorsey is ALLOWED a claim in the amount of $53,550.00 for fees and $49.27

for reimbursement of out-of-pocket expenses, for a total sum of $53,599.27;

         (5)       BRG is ALLOWED a claim in the amount of $96,546.50 for fees and $23.50 for

reimbursement of out-of-pocket expenses, for a total sum of $96,570.00; and

         (6)       The receiver is AUTHORIZED to pay all fees and expenses as allowed herein to

the extent that they have not been paid pursuant to the Fee Procedures Order.




         DATED August 31, 2018.



                                                  2
4840-9102-4495\2
 Case 2:16-cv-00832-JNP Document 163 Filed 08/31/18 PageID.3676 Page 3 of 3




                                         BY THE COURT:



                                         ____________________________________
                                         The Honorable Jill N. Parrish
                                         United States District Court




                                     3
4840-9102-4495\2
